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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            RICHMOND DIVISION



ZOHA RAHMAN,
c/o: Meridian Law, LLC
1212 Reisterstown Road
Baltimore, MD 21208

                    Plaintiff,

                                     Civil Case Number: 3:24cv253
             -v-

EXPERIAN INFORMATION
SOLUTIONS, INC.
475 Anton Boulevard
Costa Mesa, CA 92626


EQUIFAX INFORMATION SERVICES,
LLC
c/o Corporation Service Company
2 Sun Court, Suite 400
Peachtree Corners, GA 30092


TRANSUNION, LLC
555 W. Adams Street
Chicago, IL 60661


AMERICAN EXPRESS COMPANY
c/o CT Corporation System
330 N Brand Blvd, Suite 700
Glendale, CA 91203




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    ALLY FINANCIAL INC.
    c/o CT Corporation System
    40600 Ann Arbor Rd East, Suite 201
    Plymouth, MI 48170

                          Defendants.


                        COMPLAINT AND DEMAND FOR JURY TRIAL


                                            INTRODUCTION

         1.      Identity theft has long been a widespread problem in this country. Over the past

decades, identity theft has emerged as one of the fastest growing white-collar crimes in the United

States.1 Millions of Americans annually fall victim to this crime and are required to spend countless

hours and untold effort in attempting to undo the resulting harm caused to their credit reports.2

Frequently, identity theft is perpetrated by an individual close to the victim, including family

members.3

         2.      Plaintiff, Zoha Rahman, has been the unfortunate victim of identity theft at the

hands of her ex-boyfriend. Specifically, upon information and belief, this individual fraudulently

opened accounts with AMEX and Ally under Plaintiff’s name, without her knowledge or

authorization. These accounts have destroyed Ms. Rahman’s credit with the reporting of these


1
 See, Sloane v. Equifax Info. Servs., LLC, 510 F.3d 495, 505 (4th Cir. 2007).
2
 Victimization surveys conducted by Synovate for the Federal Trade Commission estimate that, between
1998 and 2003, approximately 27.3 million adults Merrick Banked they were the victims of identity theft,
with 9.91 million adults Merrick Banking they were victims in 2003 alone. See, Graeme R. Newman &
Megan M. NcNally, Identity Theft Literature Review 14 (2005),
http://www.ncjrs.gov/pdffiles1/nij/grants/210459.pdf (citing Synovate, Federal Trade Commission—
Identity Theft Survey Report 7, 12 (2003), http:// www.ftc.gov/os/2003/09/synovatereport.pdf).
3
  See, David Lukic, Family Identity Theft: What to Do If a Family Member Steals Your Identity, April 14, 2022,
available at https://www.idstrong.com/sentinel/family-identity-
theft/#:~:text=They%20could%20use%20their%20social,are%20perpetrated%20by%20family%20members. (“The
FTC estimates that nine percent of stolen identity crimes are perpetrated by family members”)
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accounts negatively as a result.

         3.      Rather than working with Ms. Rahman to rectify this unfortunate situation, each of

the Defendants refuse to remove this fraudulent information from her credit report, despite the

Plaintiff specifically disputing these fraudulent items. Instead, the Defendants have continued to

willfully and negligently harm the Plaintiff’s credit report by continuing to associate these

fraudulent accounts with the Plaintiff, thereby severely impacting Plaintiff’s life and her ability to

obtain credit.

         4.      Plaintiff thus brings this action under the Fair Credit Reporting Act, 15 U.S.C. §

1681, et seq. (the “FCRA”) alleging Equifax Information Services, LLC, Experian Information

Solutions, Inc., Transunion, LLC, AMEX and Ally have been negligently, recklessly and

knowingly disseminating false information regarding the Plaintiff’s credit, namely by continuing

to associate Plaintiff with these fraudulent accounts, particularly after the Plaintiff mailed letters

to Defendants specifically advising them of this issue and submitting the necessary supporting

documentation.

         5.      Plaintiff further alleges that the consumer reporting agencies Transunion, Equifax

and Experian failed to investigate credit report inaccuracies in response to Plaintiff’s disputes.

         6.      Plaintiff seeks statutory, actual, and punitive damages, along with injunctive and

declaratory relief, and attorneys’ fees and costs.

                                        JURISDICTION

         7.      The Court has jurisdiction of this matter under 28 U.S.C. § 1331 and 15 U.S.C. §

1681p.

         8.      Venue is proper in this judicial District pursuant to 28 U.S.C. 1391(b)(2).




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                                           PARTIES

         9.    Plaintiff, Zoha Rahman (“Plaintiff”), is a resident of Glen Allen, Virginia and is a

“consumer” as that term is defined by 15 U.S.C. § 1681a(c).

         10.   Defendant Equifax Information Services, LLC (“Equifax”) is one of the largest

credit reporting agencies in the United States and is engaged in the business of assembling and

disseminating credit reports concerning hundreds of millions of consumers.           Equifax is a

“consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA, and is regularly

engaged in the business of assembling, evaluating, and dispersing information concerning

consumers for the purpose of furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d)(1)

of the FCRA, to third parties.

         11.   Equifax’s principal place of business is 1550 Peach Tree Street, N.W., Atlanta, GA

30309.

         12.   Defendant Experian Information Solutions, Inc. (“Experian”) is one of the largest

credit reporting agencies in the United States and is engaged in the business of assembling and

disseminating credit reports concerning hundreds of millions of consumers.          Experian is a

“consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA, and is regularly

engaged in the business of assembling, evaluating, and dispersing information concerning

consumers for the purpose of furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d)(1)

of the FCRA, to third parties.

         13.   Experian is a corporation with its headquarters located in Costa Mesa, California.

         14.   Defendant Transunion, LLC (“Transunion”) is also one of the largest credit

reporting agencies in the United States, and is engaged in the business of assembling and

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disseminating credit reports concerning hundreds of millions of consumers. Transunion is a

“consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA, and is regularly

engaged in the business of assembling, evaluating, and dispersing information concerning

consumers for the purpose of furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d)(1)

of the FCRA, to third parties.

       15.     Transunion is a company with its principal place of business located at 555 West

Adams Street, Chicago, IL 60661.

       16.     Defendant American Express Company (“AMEX”) is a financial institution

headquartered in New York, New York.

       17.     Defendant Ally Financial Inc. (“Ally”) is a financial institution with its principal

office located in Detroit, Michigan.

                                  FACTUAL ALLEGATIONS

       18.     Sometime before January of 2024, Plaintiff discovered she was the victim of

identity theft at the hands of her ex-boyfriend. Around that same time, Plaintiff noticed that a

number of accounts were appearing on her consumer credit reports from Equifax, Experian and

Transunion (collectively the “CRAs”), that were opened without her knowledge or authorization.

These fraudulent accounts include:

      American Express – 3499929480749253; and

      Ally Financial – 228110015864.

       19.     Accordingly, Plaintiff took appropriate action, including filing a police report with

the Henrico County Police Division and completing a sworn FTC Identity Theft Affidavit, in

which she listed the accounts as they were appearing on her credit reports despite the fact that they

were not opened with her knowledge or authorization.

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       20.     Most recently, Plaintiff disputed these fraudulent accounts with the CRAs on or

about January 16, 2024. In those disputes, Plaintiff clearly advised the CRAs that she was the

victim of identity theft, and that this information should be removed and blocked.

       21.     With those disputes, Plaintiff included copies of the sworn FTC Identity Theft

Affidavit.

       22.     Upon information and belief, Defendant AMEX received notice of these disputes

from the CRAs.

       23.     Following receipt of Plaintiff’s dispute, Experian refused to investigate, correct or

remove the fraudulent AMEX and Ally accounts from the Plaintiff’s credit file. Instead, that

information is still being reported to this day.

       24.     Upon information and belief, Experian had all the information they needed to

locate, investigate, and correct this inaccurate information, but just failed to do so.

       25.     Equifax also refused to investigate, correct or remove the fraudulent AMEX and

Ally accounts from the Plaintiff’s credit file. Instead, that information is still being reported to

this day.

       26.     Upon information and belief, Equifax had all the information they needed to locate,

investigate, and correct this inaccurate information, but just failed to do so.

       27.     Similarly, Transunion refused to investigate, correct or remove the fraudulent

AMEX and Ally accounts from the Plaintiff’s credit file. Instead, that information is still being

reported to this day.

       28.     Upon information and belief, Transunion had all the information they needed to

locate, investigate, and correct this inaccurate information, but just failed to do so.

       29.     The CRAs, AMEX and Ally were each notified of the respective disputes, but

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refused to investigate and/or remove inaccurate reporting.

       30.     At all times pertinent hereto, Defendants’ violations of the FCRA were willful, and

carried out in reckless disregard for consumer’s rights as set forth under section 1681s, 1681i and

1681b of the FCRA. Accordingly, Plaintiff is entitled to statutory, actual, and punitive damages

under 15 U.S.C. § 1681n.

       31.     Additionally, Defendants’ violations of the FCRA were negligent. Accordingly,

Plaintiff is entitled to statutory and actual damages under 15 U.S.C. § 1681o.

       32.     In any event, Defendants are liable for Plaintiff’s reasonable attorneys’ fees and

costs, pursuant to 15 U.S.C. §§ 1681n and 1681o.

       33.     As a direct and proximate result of the Defendants’ willful and/or negligent refusal

to conduct a reasonable investigation as mandated by the FCRA, Plaintiff has been harmed in her

daily life, by the impact that this derogatory information has had on her credit score and her ability

to secure credit. For example, Plaintiff has been denied credit due to these derogatory inaccuracies.

       34.     Defendants’ violations of the FCRA further caused the Plaintiff great distress,

anger, annoyance and frustration in her daily life, and subjected the Plaintiff to abusive credit

reporting practices from which Plaintiff had a substantive right to be free.


                                   COUNT I
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                 15 U.S.C. § 1681i
                                AGAINST EQUIFAX

       35.     Plaintiff incorporates by reference all preceding paragraphs.

       36.     At all times pertinent hereto, Equifax was a “consumer reporting agency” (“CRA”)

as that term is defined by 15 U.S.C. § 1681a(c).

       37.     The FCRA provides that:

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             “if the completeness or accuracy of any item of information contained in
             a consumer’s file at a consumer reporting agency is disputed by the
             consumer and the consumer notifies the agency directly, or indirectly
             through a reseller, of such dispute, the agency shall, free of charge,
             conduct a reasonable reinvestigation to determine whether the disputed
             information is inaccurate and record the current status of the disputed
             information, or delete the item from the file in accordance with paragraph
             (5), before the end of the 30-day period beginning on the date on which
             the agency receives the notice of the dispute from the consumer or
             reseller.”
             15 U.S.C. § 1681i(a)(1)(a) (emphasis added).

       38.      On or about January 16 of 2024, the Plaintiff initiated a dispute with Equifax

requesting that they correct and remove the specific fraudulent items in her credit file that were

patently inaccurate and damaging to her, including the fraudulent AMEX and Ally accounts.

Plaintiff provided information and documentation showing that she was the victim of identity theft

and had not opened these accounts.

       39.      However, Defendant Equifax never adequately investigated the Plaintiff’s disputes,

as required by the FCRA.

       40.      Instead, Equifax, after either conducting no investigation or failing to conduct a

reasonable investigation, continued to report this inaccurate information, something that any basic

investigation would have prevented.

       41.      As a direct and proximate result of Equifax’s willful and/or negligent refusal to

conduct a reasonable investigation as mandated by the FCRA, Plaintiff has been harmed, as

explained above.

                                    COUNT II
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                15 U.S.C. § 1681c-2
                               AGAINST EQUIFAX

       42.      Plaintiff incorporates by reference all preceding paragraphs.

       43.      On or about January 16, 2024, Plaintiff initiated a dispute with Equifax requesting
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that they correct and remove the fraudulent AMEX and Ally accounts, as these accounts were

fraudulently opened by an individual other than Plaintiff as a result of identity theft.

       44.      In support of this dispute, the Plaintiff included copies of the sworn FTC Identity

Theft Affidavit.

       45.      Equifax refused to acknowledge that it had different obligations under such

circumstances than those triggered by a standard dispute.

       46.      As such, instead of following the law and blocking the fraudulent information on

the Plaintiff’s credit report within four days of receiving the dispute, Equifax continued to report

this fraudulent information.

       47.      As a direct and proximate result of Equifax’s willful and/or negligent refusal to

block this fraudulent information, as mandated by the FCRA, Plaintiff has been harmed.

                                    COUNT III
                   VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                   15 U.S.C. § 1681i
                                  AGAINST EXPERIAN

       48.      Plaintiff incorporates by reference all preceding paragraphs.

       49.      At all times pertinent hereto, Experian was a “consumer reporting agency”

(“CRA”) as that term is defined by 15 U.S.C. § 1681a(c).

       50.      The FCRA provides that:

             “if the completeness or accuracy of any item of information contained in
             a consumer’s file at a consumer reporting agency is disputed by the
             consumer and the consumer notifies the agency directly, or indirectly
             through a reseller, of such dispute, the agency shall, free of charge,
             conduct a reasonable reinvestigation to determine whether the disputed
             information is inaccurate and record the current status of the disputed
             information, or delete the item from the file in accordance with paragraph
             (5), before the end of the 30-day period beginning on the date on which
             the agency receives the notice of the dispute from the consumer or
             reseller.”
             15 U.S.C. § 1681i(a)(1)(a) (emphasis added).
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       51.     On or about January 16 of 2024, the Plaintiff initiated a dispute with Equifax

requesting that they correct and remove the specific fraudulent items in her credit file that were

patently inaccurate and damaging to her, including the fraudulent AMEX and Ally accounts.

Plaintiff provided information and documentation showing that she was the victim of identity theft

and had not opened these accounts.

       52.     However, Experian never adequately investigated the Plaintiff’s disputes, as

required by the FCRA.

       53.     Instead, Experian, after either conducting no investigation or failing to conduct a

reasonable investigation, continued to report this inaccurate information, something that any basic

investigation would have prevented.

       54.     As a direct and proximate result of Experian’s willful and/or negligent refusal to

conduct a reasonable investigation as mandated by the FCRA, Plaintiff has been harmed, as

explained above.

                                      COUNT IV
                   VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                  15 U.S.C. § 1681c-2
                                AGAINST EXPERIAN

       55.     Plaintiff incorporates by reference all preceding paragraphs.

       56.     On or about January 16, 2024, Plaintiff initiated a dispute with Experian requesting

that they correct and remove the AMEX and Ally accounts, as these accounts were fraudulently

opened by an individual other than Plaintiff as a result of identity theft.

       57.     In support of this dispute, the Plaintiff included copies of the sworn FTC Identity

Theft Affidavit.

       58.     Experian refused to acknowledge that it had different obligations under such

circumstances than those triggered by a standard dispute.
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       59.      As such, instead of following the law and blocking the fraudulent information on

the Plaintiff’s credit report within four days of receiving the dispute, Experian continued to report

this fraudulent information.

       60.      As a direct and proximate result of Experian’s willful and/or negligent refusal to

block this fraudulent information, as mandated by the FCRA, Plaintiff has been harmed.

                                   COUNT V
                 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                 15 U.S.C. § 1681i
                              AGAINST TRANSUNION

       61.      Plaintiff incorporates by reference all preceding paragraphs.

       62.      At all times pertinent hereto, Transunion was a “consumer reporting agency”

(“CRA”) as that term is defined by 15 U.S.C. § 1681a(c).

       63.      The FCRA provides that:

             “if the completeness or accuracy of any item of information contained in
             a consumer’s file at a consumer reporting agency is disputed by the
             consumer and the consumer notifies the agency directly, or indirectly
             through a reseller, of such dispute, the agency shall, free of charge,
             conduct a reasonable reinvestigation to determine whether the disputed
             information is inaccurate and record the current status of the disputed
             information, or delete the item from the file in accordance with paragraph
             (5), before the end of the 30-day period beginning on the date on which
             the agency receives the notice of the dispute from the consumer or
             reseller.”
             15 U.S.C. § 1681i(a)(1)(a) (emphasis added).

       64.      On or about January 16 of 2024, the Plaintiff initiated a dispute with Transunion

requesting that they correct and remove the specific fraudulent items in her credit file that were

patently inaccurate and damaging to her, including the fraudulent AMEX and Ally accounts.

Plaintiff provided information and documentation showing that she was the victim of identity theft

and had not opened these accounts.

       65.      However, Transunion never adequately investigated the Plaintiff’s disputes, as
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required by the FCRA.

       66.     Instead, Transunion, after either conducting no investigation or failing to conduct a

reasonable investigation, continued to report this inaccurate information, something that any basic

investigation would have prevented.

       67.     As a direct and proximate result of Transunion’s willful and/or negligent refusal to

conduct a reasonable investigation as mandated by the FCRA, Plaintiff has been harmed, as

explained above.

                                      COUNT VI
                   VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                  15 U.S.C. § 1681c-2
                               AGAINST TRANSUNION

       68.     Plaintiff incorporates by reference all preceding paragraphs.

       69.     On or about January 16, 2024, Plaintiff initiated a dispute with Transunion

requesting that they correct and remove the AMEX and Ally accounts, as these accounts were

fraudulently opened by an individual other than Plaintiff as a result of identity theft.

       70.     In support of this dispute, the Plaintiff included copies of the sworn FTC Identity

Theft Affidavit.

       71.     Transunion refused to acknowledge that it had different obligations under such

circumstances than those triggered by a standard dispute.

       72.     As such, instead of following the law and blocking the fraudulent information on

the Plaintiff’s credit report within four days of receiving the dispute, Transunion continued to

report this fraudulent information.

       73.     As a direct and proximate result of Transunion’s willful and/or negligent refusal to

block this fraudulent information, as mandated by the FCRA, Plaintiff has been harmed.



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                                             COUNT VII
                             FAILURE TO INVESTIGATE DISPUTE
                                 FCRA, 15 U.S.C. § 1681s-2(b)
                                     AGAINST AMEX

       74.         Plaintiff incorporates by reference all preceding paragraphs.

       75.        Furnishers of credit information have a duty under the FCRA to investigate disputes

from consumers as to the accuracy of information being reported.

       76.        On or about January 16, 2024, Plaintiff initiated disputes with the credit bureaus

disputing the accuracy of the account being reported by AMEX.

       77.        Upon information and belief, AMEX received notice of these disputes from the

credit bureaus.

       78.        AMEX was obligated, pursuant to section 1681s-2(b) of the FCRA to conduct a

complete and thorough investigation with respect to Plaintiff’s dispute.

       79.        Even after the Plaintiff properly disputed these accounts with the credit reporting

agencies, AMEX refused to conduct a reasonable investigation and continued inaccurately

reporting the multiple fraudulent accounts on Plaintiff’s credit reports.

       80.        AMEX’s conduct violated section 1681s-2(b) of the FCRA.

       81.        As a result of AMEX’s conduct, Plaintiff was harmed, as discussed above.

                                            COUNT VIII
                             FAILURE TO INVESTIGATE DISPUTE
                                 FCRA, 15 U.S.C. § 1681s-2(b)
                                      AGAINST ALLY

       82.        Plaintiff incorporates by reference all preceding paragraphs.

       83.        Furnishers of credit information have a duty under the FCRA to investigate disputes

from consumers as to the accuracy of information being reported.

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        84.       On or about January 16, 2024, Plaintiff initiated disputes with the credit bureaus

disputing the accuracy of the account being reported by ALLY.

        85.       Upon information and belief, ALLY received notice of these disputes from the

credit bureaus.

        86.       ALLY was obligated, pursuant to section 1681s-2(b) of the FCRA to conduct a

complete and thorough investigation with respect to Plaintiff’s dispute.

        87.       Even after the Plaintiff properly disputed these accounts with the credit reporting

agencies, ALLY refused to conduct a reasonable investigation and continued inaccurately

reporting the multiple fraudulent accounts on Plaintiff’s credit reports.

        88.       ALLY’s conduct violated section 1681s-2(b) of the FCRA.

        89.       As a result of ALLY’s conduct, Plaintiff was harmed, as discussed above.

                                 DEMAND FOR TRIAL BY JURY

        90.       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

requests a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff demand judgment against Defendants as follows:

    A. Awarding Plaintiff actual damages, statutory damages and punitive damages pursuant to

        pursuant to 15 U.S.C. §§ 1681n and/or 1681o, including pre-judgment and post-judgment

        interest;

    B. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees and expenses

        pursuant to 15 U.S.C. §§ 1681n and/or 1681o;

    C. A declaration that Defendants’ conduct alleged herein is unlawful, as set forth more fully

        above;

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   D. Equitable relief, enjoining Defendants from engaging in the unjust and unlawful conduct

       alleged herein; and

   E. Awarding Plaintiff such other and further relief as this Court may deem just and proper.

Dated: April 10, 2024

                                           /s/ Aryeh E. Stein
                                           Aryeh E. Stein, # 45895
                                           Meridian Law, LLC
                                           1212 Reisterstown Road
                                           Baltimore, MD 21208
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                                           Attorney for Plaintiff
                                           Pro Hac Vice Motion Forthcoming




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